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 8

 9                       UNITED STATES DISTRICT COURT
10                     NORTHERN DISTRICT OF CALIFORNIA
11   JABARI SELLERS, Individually and            Case No.
12   On Behalf of All Others Similarly
     Situated,
13                                               CLASS ACTION COMPLAINT
14
                     Plaintiff,

15         v.
                                                 JURY TRIAL DEMANDED
16   BLEACHER REPORT, INC.,
17                   Defendant.
18

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     CLASS ACTION COMPLAINT
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 1                            CLASS ACTION COMPLAINT
 2         Plaintiff Jabari Sellers on behalf of Plaintiff and all others similarly situated,
 3
     files this Complaint against Defendant Bleacher Report, Inc. (“Bleacher Report” or
 4

 5   “Defendant”) for violation of the federal Video Privacy Protection Act, 18 U.S.C. §
 6
     2710 (“VPPA”). Plaintiff’s claims arise from Defendant’s practice of knowingly
 7
     disclosing to a third party, Meta Platforms, Inc. (“Facebook”), data containing its
 8

 9   digital subscribers’ (i) personally identifiable information or Facebook ID (“FID”)
10
     and (ii) the computer file containing video and its corresponding URL viewed
11
     (“Video Media”) (collectively, “Personal Viewing Information”). Plaintiff’s
12

13   allegations are made on personal knowledge as to Plaintiff and Plaintiff’s own acts
14
     and upon information and belief as to all other matters.
15
     I.   NATURE OF THE ACTION
16

17         1.      This is a consumer digital privacy class action complaint against

18   Bleacher Report, as the owner of Bleacherreport.com, for violating VPPA by
19
     disclosing its digital subscribers’ Personal Viewing Information to Facebook
20

21   without obtaining the proper consent.
22         2.      VPPA    prohibits     “video    tape   service     providers,”    such    as
23
     Bleacherreport.com,      from     knowingly    disclosing      consumers’      “personally
24

25   identifiable information,” which “includes information which identifies a person as
26   having requested or obtained specific video materials or services from a video tape
27
     provider,” without first obtaining express consent in a stand-alone consent form.
28
     U.S.C. § 2710(a)(3), (b).

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 1         3.      Like other businesses with an online presence, Defendant collects and

 2 shares the personal information of visitors to its website and mobile application

 3
     (“App”) with third parties. Defendant does this through cookies, software
 4

 5 development kits (“SDK”), and pixels. In other words, digital subscribers to

 6 Bleacherreport.com have their personal information disclosed to Defendant’s third-

 7
     party business partners.
 8

 9         4.      The Facebook pixel is a code Defendant installed on its

10 Bleacherreport.com website allowing it to collect users’ data. More specifically, it

11
     tracks when digital subscribers enter the Bleacherreport.com website or App and
12

13 view Video Media. Defendant’s website tracks and discloses to Facebook the digital

14 subscribers’ viewed Video Media, and most notably, the digital subscribers’ FID.

15
     This occurs even when the digital subscriber has not shared (nor consented to share)
16

17 such information.

18         5.      Importantly, Defendant shares the Personal Viewing Information—i.e.,
19
     digital subscribers’ unique FID and Video Media viewed—together as one data
20

21 point to Facebook. Because the digital subscriber’s FID uniquely identifies an

22 individual’s Facebook user account, Facebook—or any other ordinary person—can

23
     use it to quickly and easily locate, access, and view digital subscribers’
24

25 corresponding Facebook profile. Put simply, Facebook pixel grants Facebook

26
     knowledge of the Video Media each of its subscribers view on the
27
     Bleacherreport.com site.
28

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 1           6.      Defendant uses the Personal Viewing Information to build more

 2 targeted advertising on its website which, in turn, generates greater revenue. Thus,

 3
     without obtaining consent from its digital subscribers, Defendant profits from its
 4

 5 unauthorized disclosure of its digital subscribers’ Personal Viewing Information to

 6 Facebook. Defendant reaps these secret profits at the expense of its digital

 7
     subscribers’ privacy and their statutory rights under VPPA.
 8

 9           7.      Because Defendant does not clearly and conspicuously inform

10 Bleacherreport.com digital subscribers about this dissemination of their Personal

11
     Viewing Information—indeed, the process is automatic and invisible—they cannot
12

13 exercise reasonable judgment to defend themselves against the highly personal ways

14 Bleacherreport.com has used and continues to make money by using their personal

15
     data.
16

17           8.      Defendant chose to disregard Plaintiff’s and hundreds of thousands of
18 other Bleacherreport.com digital subscribers’ statutorily protected privacy rights by

19
     releasing their sensitive personal data to Facebook. Accordingly, Plaintiff brings this
20

21 class action for legal and equitable remedies to redress and put a stop to Defendant’s

22 practices of intentionally disclosing its digital subscribers’ Personal Viewing

23
     Information to Facebook in knowing violation of VPPA.
24

25 II.       JURISDICTION AND VENUE
26           9.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 over
27
     the claims that arise under the Video Privacy Protection Act, 18 U.S.C. § 2710.
28

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 1          10.   This Court also has jurisdiction under 28 U.S.C. § 1332(d) because this

 2 action is a class action in which the aggregate amount in controversy for the

 3
     proposed Class (defined below) exceeds $5,000,000, and at least one member of the
 4

 5 Class is a citizen of a state different from that of Defendant.

 6          11.   Venue is appropriate in this District pursuant to 28 U.S.C. §1391
 7
     because Defendant resides in and is subject to personal jurisdiction in this District.
 8

 9 Venue is also proper because a substantial part of the events or omissions giving rise
10 to the claim occurred in or emanated from this District.

11
     III.   PARTIES
12
            12.   Plaintiff Jabari Sellers is an adult citizen of Tennessee and is domiciled
13

14 in Davidson County, Tennessee. Plaintiff began his digital subscription to

15
     Bleacherreport.com around 2007 and continues to maintain the subscription to this
16
     day. Plaintiff has had a Facebook account from approximately 2005 to the present.
17

18 During the relevant time period he has used his Bleacherreport.com digital

19
     subscription to view Video Media through the Bleacherreport.com website and/or
20

21
     App while logged into his Facebook account. By doing so, Plaintiff’s Personal

22 Viewing Information was disclosed to Facebook pursuant to the systematic process

23
     described herein. Plaintiff never gave Defendant express written consent to disclose
24

25
     his Personal Viewing Information.

26          13.   Defendant is an American media company focused on sport and sports
27
     culture with its headquarters in San Francisco, California. Defendant develops,
28

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 1 owns, and operates the Bleacherreport.com website, which includes a broad

 2 selection of video content posted along with their stories.

 3
     IV.   FACTUAL ALLEGATIONS
 4
     A.    Background of the Video Privacy Protection Act
 5

 6         14.    VPPA generally prohibits the knowing disclosure of a customer’s video

 7 rental or sale records without the informed, written consent of the customer in a form

 8
     “distinct and separate from any form setting forth other legal or financial
 9
10 obligations.” 18 U.S.C. § 2710(b)(2)(B)(i). Under the statute, the Court may award

11 actual damages (but not less than liquidated damages of $2,500.00 per person),

12
     punitive damages, equitable relief and attorney’s fees. Id. at § 2710(c).
13

14         15.    VPPA was initially passed in 1988 to protect the privacy of individuals’
15 and their families’ video rental, purchase and viewing data. Prior to its enactment,

16
     members of the United States Senate warned that “[e]very day Americans are forced
17

18 to provide to businesses and others personal information without having any control

19 over where that information goes.” S. Rep. No. 100-599 at 7-8 (1988).

20
           16.    Senators at the time were particularly troubled by disclosures of records
21

22 that reveal consumers’ purchases and rentals of videos and other audiovisual

23 materials. As Senator Patrick Leahy and the late Senator Paul Simon recognized,

24
     records of this nature offer “a window into our loves, likes, and dislikes,” such that
25

26 “the trail of information generated by every transaction that is now recorded and

27
     stored in sophisticated record-keeping systems is a new, more subtle and pervasive
28

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 1 form of surveillance.” S. Rep. No. 100-599 at 7-8 (1988) (statements of Sens. Simon

 2 and Leahy, respectively).

 3
           17.   In proposing the Video and Library Privacy Protection Act, later
 4

 5 codified as VPPA, Senator Leahy stated that “[i]n practical terms our right to privacy

 6 protects the choice of movies that we watch with our family in our own homes. And

 7
     it protects the selection of books that we choose to read.” 134 Cong. Rec. S5399
 8

 9 (May 10, 1988). Thus, the personal nature of such information, and the need to
10 protect it from disclosure, is the inspiration of the statute: “[t]hese activities are at

11
     the core of any definition of personhood. They reveal our likes and dislikes, our
12

13 interests and our whims. They say a great deal about our dreams and ambitions, our

14 fears and our hopes. They reflect our individuality, and they describe us as people.”

15
     Id.
16

17         18.   While these statements rang true in 1988 when VPPA was passed, the
18 importance of legislation like VPPA in the modern era of data mining from online

19
     activities is even more pronounced. During a recent Senate Judiciary Committee
20

21 meeting, “The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st

22 Century,” Senator Leahy emphasized the point by stating: “While it is true that

23
     technology has changed over the years, we must stay faithful to our fundamental
24

25 right to privacy and freedom. Today, social networking, video streaming, the

26

27

28

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 1 ‘cloud,’ mobile apps and other new technologies have revolutionized the availability

 2 of Americans’ information.” 1

 3
           19.    In this case, Defendant chose to deprive Plaintiff and the Class
 4

 5 members of that right by systematically disclosing their Personal Viewing

 6 Information to Facebook, without providing clear and conspicuous notice to or

 7
     obtaining proper consent from its digital subscribers.
 8

 9 B.      Bleacherreport.com’s Digital Subscriptions

10         20.    To subscribe for Bleacherreport.com, users sign up for an online
11
     newsletter. Bleacherreport.com users provide their personal information, including
12
     but not limited to their name, email address, and phone number. Below are
13

14 screenshots of Bleacherreport.com’s subscription process:

15

16

17

18

19

20

21

22

23

24

25

26
      1
27      The Video Privacy Protection Act: Protecting Viewer Privacy in the 21st Century, Senate
      Judiciary Committee Subcommittee on Privacy, Technology and the Law, http://www.judiciary.
28    senate.gov/meetings/the-video-privacy-protection-act-protecting-viewer-privacy-in-
      the21stcentury (last accessed March 15, 2022).
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21         21.   Defendant’s sign-up process fails to bind its digital subscribers to its
22
     Privacy Policy and Terms and Conditions because it is an unenforceable
23

24 browserwrap agreement.

25         22.   First, Defendant’s website does not provide reasonably conspicuous
26
     notice of the terms to which the consumer will be bound. The notice is displayed in
27

28 a tiny gray font considerably smaller than the font used in the surrounding website

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 1 elements that is barely legible to the naked eye, while the comparable larger font

 2 used in all of the surrounding text naturally directs the user’s attention everywhere

 3
     else. The textual notice is further deemphasized by the overall design of the
 4

 5 webpage, in which other visual elements draw the user’s attention away from the

 6 barely readable text.

 7
           23.    Second, Defendant’s website is not designed to obtain Plaintiff’s
 8

 9 unambiguous manifestation of assent to the terms of its Privacy Policy and Terms of
10 Use. Reasonable consumers would conclude that, by clicking the large “Continue”

11
     button, they are signing up for the website, but not that they are agreeing to the Terms
12

13 of Use and Privacy Policy. The design of the website and App leads the consumer

14 to enter their phone number and then click “continue,” without necessarily viewing

15
     the sentence in barely legible font beneath the “continue” button which states that,
16

17 “By selecting ‘Continue’ you agree to the terms and conditions of the Bleacher

18 Reports Terms of Use and Privacy Policy.”

19
           24.    Further, the sentence below the “continue” button stating, “By selecting
20

21 ‘Continue’ you agree to the terms and conditions of the Bleacher Reports Terms of

22 Use and Privacy Policy,” does not contain a link to a distinct and separate legal

23
     document that notifies Defendant’s subscribers that it will record their Personal
24

25 Viewing Information or obtains their consent to disclose it to third parties. Thus,

26
     when opening an account, Defendant does not disclose “in a form distinct and
27
     separate from any form setting forth other legal or financial obligations of its [digital
28

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 1 subscribers]” that it will share their Personal Viewing Information with third parties,

 2 such as Facebook.

 3
           25.    Bleacher Report operates a website in the U.S. accessible from a
 4

 5 desktop and mobile device at Bleacherreport.com. It also offers an App available

 6 for download on Android and iPhone devices.

 7
           26.    On information and belief, all digital subscribers provide Defendant
 8

 9 with their IP address, which is a unique number assigned to all information
10 technology connected devices, that informs Defendant as to subscribers’ city, zip

11
     code and physical location.
12

13         27.    Digital subscribers may also provide to Defendant the identifier on their
14 mobile devices and/or cookies stored on their devices.

15
           28.    After becoming a digital subscriber, viewers have access to a variety of
16

17 Bleacherreport.com’s Video and Audio Media on Defendant’s digital platform.

18         29.    Notably,    once   a   digital    subscriber   signs   in   and   watches
19
     Bleacherreport.com Video Media, the digital subscriber is not provided with any
20

21 notification at the time that they watch the Video Media that their Personal Viewing

22 Information is being shared.

23
           30.    Defendant also does not provide its digital subscribers with an
24

25 opportunity, in a clear and conspicuous manner, for them to withdraw on a case-by-

26
     case basis from the disclosure of their Personal Viewing Information or to withdraw
27
     from ongoing disclosures, at their election.
28

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 1 C.      Defendant Admits It Collects and Discloses Certain Personal
           Information of Digital Subscribers to Third Parties but Fails to Advise
 2         It Discloses Personal Viewing Information, as VPPA Requires.
 3
           31.   The operative Privacy Policy for Bleacherreport.com states that it
 4
     collects types of “Information” from its user’s devices for them to access their
 5

 6 service:

 7
           We may collect different types of information during your interactions
 8         with our Sites and through our advertising and media across the Internet
           and mobile apps. This information may include personal information
 9
           (e.g., name, phone number, postal address, email address, and certain
10         payment information), technical information (e.g., device identifier, IP
           address, browser type, operating system) and usage information (e.g.,
11
           how you use and navigate to and from our Sites, and information about
12         content or advertisements you have been shown or have clicked on).
           We may combine these types of information together, and collectively
13
           refer to all of this information in this Privacy Policy as “Information.”
14         Information may be collected as described below and through the use
           of cookies, web beacons, pixels, and other similar technologies by us
15
           or by other companies on our behalf. Below we describe the types of
16         Information we may collect:
17
           Registration, account, and sign-up information. We may collect
18         Information in the course of your use of, or registration with, our Sites.
           For example, when you create an account, register for or download an
19
           app, or sign-up for a product or service, you may provide us with certain
20         personal information. This type of personal information may include
           name, phone number, postal address, fax number, email address, or
21
           certain payment information (e.g., billing and transaction information).
22         We may also collect Information about your interest in and use of
           various products, programs, services, and content available on or
23
           through our Sites.
24
           […]
25

26
           Information from other sources. On occasion, we combine
           Information with other online information we receive, including usage
27         information about your interactions with other websites and with online
28
           advertising and media. We also supplement or combine Information
           with Information from a variety of other sources or outside records,
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 1         including third-party data providers that provide us with Information
           such as demographics, transaction and purchase history, Information
 2         about the content and advertisements you interact with, or inferences
 3         about your demographics or preferences. We may receive Information
           from third parties with which you have a subscription agreement that
 4         includes access to our content or services, such as a cable or smart
 5         device provider.

 6         Information you provide through social media. You can engage with
 7
           some of our content and offerings, such as videos, games, apps, and
           other offerings on or through third party communities, forums, and
 8         social media sites, platforms, services, plug-ins, and applications
 9
           (“Social Media Sites”). When you link to or interact with our Sites,
           content, or offerings through Social Media Sites, you may allow us to
10         receive certain Information from your social media account (e.g., name,
11
           user ID, email address, profile photo, photos and videos, gender,
           birthday, location, your friends and their contact details, people you
12         follow and/or who follow you, posts, ‘likes’, or other user-generated
13
           content). We may also receive Information from your interaction with
           our content (e.g., content viewed, game performance, high scores, and
14         information about advertisements you have been shown or have clicked
15         on). By providing this Information or otherwise interacting with our
           Sites through Social Media Sites, you consent to our use of Information
16         from the Social Media Sites in accordance with this Privacy Policy. For
17         information about how you can customize your privacy settings on
           Social Media Sites, and how those Social Media Sites handle your
18         personal information and content, please refer to their privacy help
19         guides, privacy policies, and terms of use.

20         […]

21         Video and streaming information. For some Sites, we collect
22         information about the films, TV shows, and videos that you view. For
           example, if you stream video content using our Sites, we may collect
23         information about your interaction with that content or service, such as
24         the title and genre, watchlists you compile, and searches you conduct,
           duration and number of streams and downloads and system information
25         related to streaming and download quality.
26
     See   https://www.warnermediaprivacy.com/policycenter/b2c/WMNS/en-us/
27

28 (last accessed January 18, 2023).

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 1         32.    Thus, Defendant’s Privacy Policy informs consumers that they will be

 2 collecting their Personal Viewing Information, including “information which

 3
     identifies a person as having requested or obtained specific video materials or
 4

 5 services from a video tape service provider.” 18 U.S.C. § 2710(a)(3).

 6         33.    With respect to the sharing and disclosure of “Information” the Privacy
 7
     Policy indicates:
 8

 9         Business partners and third parties. We may also share Information
           with business partners and third parties (e.g., other companies, retailers,
10         research organizations, advertisers, ad agencies, advertising networks
11         and platforms, participatory databases, publishers, and non-profit
           organizations) that may want to market products or services to you. If
12         we share personal information with such unaffiliated third parties for
13         their own marketing purposes, we provide you with an opportunity to
           opt out of such uses either at the point of collection or through the
14         choice mechanisms set forth in this Privacy Policy. To learn more about
15         your choices, please see our Your Choices and Controls section below.
16         34.    The “Information” section of the Privacy Policy is not “in a form
17
     distinct and separate from any form setting forth other legal or financial obligations
18

19 of the consumer.”

20         35.    Defendant does not provide its digital subscribers with the ability to
21
     consent to the disclosure of their personally identifiable information at the time the
22

23 disclosure is sought, i.e., at the point when a subscriber views a video on Defendant’s

24 website.

25
           36.    The “Your Choices and Controls” section of the Privacy Policy
26

27 purports to obtain Defendant’s digital subscribers’ advance consent to disclose their

28 personally identifiable information. However, the Privacy Policy elicits a digital

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 1 subscriber’s consent forever, while VPPA only allows that consent to be given “for

 2 a set period of time, not to exceed 2 years.” Thus, even if Plaintiff agreed to the

 3
     Privacy Policy when he signed up for Defendant’s website in 2007, any consent he
 4

 5 may have given does not cover time periods more than two years from the date he

 6 subscribed.

 7
           37.    Defendant also does not provide an opportunity, in a clear and
 8

 9 conspicuous manner, for its digital subscribers to withdraw on a case-by-case basis
10 or to withdraw from ongoing disclosures, as the consumer’s election. Buried in a

11
     section of the Privacy Policy entitled “Ad Choices,” Defendant discloses that “[t]o
12

13 opt out of our own collection, use, and transfer of data as described above for

14 interest-based     or   targeted   advertising,     please   visit   our   Opt-Out   page
15
     (https://www.warnermediaprivacy.com/opt-out/) to opt-out.” This link sends
16

17 consumers to another webpage where consumers are given three options: (1) to “opt

18 out from targeted advertising if your email address was collected and associated with

19
     an ad profile in WarnerMedia internal systems;” (2) to “opt out of targeted
20

21 advertising by third parties that participate in self regulatory programs; “and (3) to

22 opt out of “targeted advertising on mobile apps.” Thus, this website discloses to

23
     consumers that they can opt out of “targeted advertising,” but does not clearly and
24

25 conspicuously explain if the opt out will stop Defendant from collecting and

26
     disclosing to third parties the collection of the “personally identifiable information”
27
     VPPA protects.
28

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 1         38.     Defendant’s Privacy Policy does not relieve Defendant of VPPA

 2 liability for disclosing “personally identifiable information concerning any

 3
     consumers” because it fails to comply with the requirements set forth in 18 U.S.C. §
 4

 5 2710(b)(2) for such disclosure, including the requirements of section 2710(b)(2)(B),

 6 which must all be met for disclosure to be lawful.

 7
     D.    How Bleacherreport.com Disseminates Digital Subscribers’ Personal
 8         Viewing Information
 9
           1.      Tracking Pixels
10
           39.     Websites and apps use Facebook’s pixel and SDK to collect
11

12 information about user’s devices and activities and send that to Facebook. Facebook

13 then uses that information to show the user targeted ads.

14
           40.     The Facebook tracking pixel, also known as a “tag” or “web beacon”
15

16 among other names, is an invisible tool that tracks consumers’ actions on Facebook

17 advertisers’ websites and reports them to Facebook. It is a version of the social

18
     plugin that gets “rendered” with code from Facebook. To obtain the code for the
19

20 pixel, the website advertiser tells Facebook which website events it wants to track

21 (e.g., Video Media) and Facebook returns corresponding Facebook pixel code for

22
     the advertiser to incorporate into its website.
23

24         41.     Defendant installed the Facebook tracking pixel, which enables it to
25 disclose Plaintiff’s and Class Members’ Personal Viewing Information to Facebook,

26
     because it benefits financially from the advertising and information services that
27

28 stem from use of the pixel. The pixel allows Facebook to build detailed profiles

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 1 about a website’s users as those users browse the Internet to enable advertisers to

 2 serve them with targeted advertisements.

 3
           42.     When a Bleacherreport.com digital subscriber enters the website and
 4

 5 watches Video Media on the website, the website sends to Facebook certain

 6 information about the viewer, including, but not limited to, their identity and the

 7
     media content the digital subscriber watched. Specifically, Bleacherreport.com
 8

 9 sends to Facebook the video content name, its URL, and, most notably, the viewers’
10 Facebook ID.

11
           2.      Facebook ID (“FID”)
12
           43.     An FID is a unique and persistent identifier that Facebook assigns to
13

14 each user. With it, anyone ordinary person can look up the user’s Facebook profile

15
     and name. When a Facebook user with one or more personally identifiable FID
16
     cookies on his or her browser views Video Media from Bleacherreport.com on the
17

18 website or app, Bleacherreport.com, through its website code, causes the digital

19
     subscriber’s identity and viewed Video Media to be transmitted to Facebook by the
20

21
     user’s browser. This transmission is not the digital subscriber’s decision, but results

22 from Defendant’s purposeful use of its Facebook tracking pixel by incorporation of

23
     that pixel and code into Bleacherreport.com’s website or App.
24

25
           44.     Defendant could easily program its website and App to prevent its

26 users’ Personal Viewing Information from being automatically transmitted to

27
     Facebook when a subscriber views Video Media. However, it is not Defendant’s
28

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 1 financial interest to do so because it benefits financially by providing this highly

 2 sought-after information.

 3
           45.    Notably, while Facebook can easily identify any individual on its
 4

 5 Facebook platform with only their unique FID, so too can any ordinary person who

 6 comes into possession of an FID. Facebook admits as much on its website. Indeed,

 7
     ordinary persons who come into possession of the FID can connect to any Facebook
 8

 9 profile. Simply put, with only an FID and the video content name and URL—all of
10 which Defendant knowingly and readily provides to Facebook without any consent

11
     from the digital subscribers—any ordinary person can learn the identity of the digital
12

13 subscriber and the specific video or media content they                  requested on
14 Bleacherreport.com’s website. In other words, by obtaining a person’s FID, any

15
     third-party can discover exactly which videos that person watched on Defendant’s
16

17 website, which is exactly the type of personally identifiable information that VPPA

18 is intended to protect from unauthorized disclosure.

19
           46.    At all relevant times, Defendant knew that the Facebook pixel disclosed
20

21 Personal Viewing Information to Facebook. This was evidenced from, among other

22 things, the functionality of the pixel, including that it enabled Bleacherreport.com’s

23
     website and App to show targeted advertising to its digital subscriber’s based on the
24

25 products those digital subscriber’s had previously viewed on the website or App,

26
     including Video Media purchases, for which Defendant received financial
27
     remuneration.
28

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 1 E.      Bleacherreport.com Unlawfully Discloses Its Digital Subscribers’
           Personal Viewing Information to Facebook
 2
           47.    Defendant maintains a vast digital database comprised of its digital
 3

 4 subscribers’ Personal Viewing Information, including the names and e-mail

 5
     addresses of each digital subscriber and information reflecting the Video Media that
 6
     each of its digital subscribers viewed.
 7

 8         48.    Defendant is not sharing anonymized, non-personally identifiable data
 9
     with Facebook, as it represents. To the contrary, the data it discloses is tied to unique
10
     identifiers that track specific Facebook users. Importantly, the recipient of the
11

12 Personal      Viewing Information—Facebook—receives the Personal Viewing
13
     Information as one data point. Defendant has thus monetized its database by
14
     disclosing its digital subscribers’ Personal Viewing Information to Facebook in a
15

16 manner allowing it to make a direct connection—without the consent of its digital

17
     subscribers and to the detriment of their legally protected privacy rights.
18
           49.    Critically, the Personal Viewing Information Defendant discloses to
19

20 Facebook allows Facebook to build from scratch or cross-reference and add to the

21
     data it already has in their own detailed profiles for its own users, adding to its trove
22

23
     of personally identifiable data.

24         50.    Here’s how it works. A user visits Bleacherreport.com website and
25
     clicks on an article and watches the video in the article. Once the user clicks on and
26

27 watches the video in the article, Bleacherreport.com sends the content name of the

28

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 1 video the digital subscriber watched, the URL, and the digital subscriber’s FID to

 2 Facebook.

 3
           51.   As a result of Defendant’s data compiling and sharing practices,
 4

 5 Defendant has knowingly disclosed to Facebook for its own personal profit the

 6 Personal Viewing Information of Defendant’s digital subscribers, together with

 7
     additional sensitive personal information.
 8

 9         52.   Defendant does not seek its digital subscribers’ prior written consent to

10 the disclosure of their Personal Viewing Information (in writing or otherwise) and

11
     its customers remain unaware that their Personal Viewing Information and other
12

13 sensitive data is being disclosed to Facebook.

14         53.   By disclosing its digital subscribers Personal Viewing Information to
15
     Facebook—which undeniably reveals their identity and the specific video materials
16

17 they requested from Defendant’s website—Defendant has intentionally and

18 knowingly violated VPPA.

19
     F.    Defendant Does Not Need to Disclose Personal Viewing Information to
20         Operate its Website and App
21
           54.   Tracking pixels are not necessary for Defendant to operate
22

23
     Bleacherreport.com’s digital news publications and sign-up digital subscriptions.

24 They are deployed on Defendant’s website for the sole purpose of enriching

25
     Defendant and Facebook.
26

27         55.   Even if an on-line news publication found it useful to integrate

28 Facebook tracking pixels, Defendant is not required to disclose Personal Viewing

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 1 Information to Facebook. In any event, if Defendant wanted to do so, it must first

 2 comply with the strict requirements of VPPA, which it failed to do. As noted above,

 3
     even Facebook forbids the disclosure of such information without first complying
 4

 5 specifically with VPPA (and relevant state laws).

 6 G.      Plaintiff’s Experiences
 7
           56.   Plaintiff    Jabari   Sellers   has   been   a   digital   subscriber   of
 8
     Bleacherreport.com from approximately 2007 to the present. Plaintiff became a
 9
10 digital subscriber of Bleacherreport.com by providing, among other information, his

11
     name, address, email address, IP address (which informs Defendant as to the city
12
     and zip code he resides in as well as his physical location), and any cookies
13

14 associated with his device. As part of his subscription, he receives emails and other

15
     news from Bleacherreport.com.
16
           57.   Plaintiff has had a Facebook account since approximately 2005. From
17

18 2007 to the present, Plaintiff viewed Video Media via Bleacherreport.com’s website

19
     and App.
20

21
           58.   Plaintiff never consented, agreed, authorized, or otherwise permitted

22 Defendant to disclose his Personal Viewing Information to Facebook. Plaintiff has

23
     never been provided any written notice that Defendant discloses its digital
24

25
     subscribers’ Personal Viewing Information, or any means of opting out of such

26 disclosures of his Personal Viewing Information. Defendant nonetheless knowingly

27
     disclosed Plaintiff’s Personal Viewing Information to Facebook.
28

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 1         59.    Because Plaintiff is entitled by law to privacy in his Personal Viewing

 2 Information, Defendant’s disclosure of his Personal Viewing Information deprived

 3
     Plaintiff of the full set of benefits to which he was entitled as part of being a
 4

 5 Bleacherreport.com’s digital subscriber.

 6 V.      CLASS ACTION ALLEGATIONS
 7
           60.    Plaintiff brings this action on behalf of himself and all others similarly
 8
     situated as a class action under Rules 23(a), (b)(2), and (b)(3) of the Federal Rules
 9
10 of Civil Procedure, on behalf of the following class (the “Class”):

11
                  All persons in the United States with a digital subscription
12                to an online website and/or App owned and/or operated by
                  Defendant that had their Personal Viewing Information
13
                  disclosed to Facebook by Defendant.
14
     Excluded from the Class are Defendant, their past or current officers, directors,
15

16 affiliates, legal representatives, predecessors, successors, assigns and any entity in

17 which any of them have a controlling interest, as well as all judicial officers assigned

18
     to this case as defined in 28 USC § 455(b) and their immediate families.
19

20         61.    Numerosity. Members of the Class are so numerous and geographically
21 dispersed that joinder of all members of the Class is impracticable. Upon information

22
     and belief, hundreds of thousands of members of the Class are widely dispersed
23

24 throughout the United States. Class members can be readily identified from

25 Defendant’s records and non-party Facebook’s records.

26
           62.    Typicality. Plaintiff’s claims are typical of the claims of members of
27

28 the Class. Plaintiff and members of the Class were harmed by the same wrongful

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 1 conduct by Defendant in that Defendant caused Personal Viewing Information to be

 2 disclosed to Facebook without Plaintiff’s or Class members’ obtaining express

 3
     written consent. Plaintiff’s claims are based on the same legal theories as the claims
 4

 5 of other Class members.

 6         63.    Adequacy. Plaintiff will fairly and adequately protect and represent the
 7
     interests of the members of the Class. Plaintiff’s interests are coincident with, and
 8

 9 not antagonistic to, those of the members of the Class. Plaintiff is represented by
10 counsel with experience in the prosecution of class action litigation generally and in

11
     the emerging field of digital privacy litigation specifically.
12

13         64.    Commonality. Questions of law and fact common to the members of
14 the Class predominate over questions that may affect only individual members of

15
     the Class because Defendant has acted on grounds generally applicable to the Class.
16

17 Such generally applicable conduct is inherent in Defendant’s wrongful conduct.

18 Questions of law and fact common to the Classes include:

19
                  (a)    Whether Defendant knowingly disclosed Class members’
20

21                       Personal Viewing Information to Facebook;
22                (b)    Whether the information disclosed to Facebook concerning Class
23
                         members’ Personal Viewing Information constitutes personally
24

25                       identifiable information under the VPPA;
26

27

28

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 1                (c)    Whether Defendant’s disclosure of Class members’ Personal

 2                       Viewing Information to Facebook was knowing under the
 3
                         VPPA;
 4

 5                (d)    Whether Class members consented to Defendant’s disclosure of

 6                       their Personal Viewing Information to Facebook in the manner
 7
                         required by 18 U.S.C. § 2710(b)(2)(B); and
 8

 9                (e)    Whether the Class is entitled to damages, punitive damages,

10                       reasonable attorneys’ fees and other litigation costs reasonably
11
                         incurred, and other preliminary and equitable relief as the court
12

13                       determines to be appropriate, as a result of Defendant’s conduct.
14         65.    Superiority. Class action treatment is a superior method for the fair and
15
     efficient adjudication of the controversy. Such treatment will permit a large number
16

17 of similarly situated persons to prosecute their common claims in a single forum

18 simultaneously, efficiently, and without the unnecessary duplication of evidence,

19
     effort, or expense that numerous individual actions would engender. The benefits of
20

21 proceeding through the class mechanism, including providing injured persons or

22 entities a method for obtaining redress on claims that could not practicably be

23
     pursued individually, substantially outweighs potential difficulties in management
24

25 of this class action. Plaintiff knows of no special difficulty to be encountered in

26
     litigating this action that would preclude its maintenance as a class action.
27
     VI.   CLAIM FOR RELIEF
28

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 1                           FIRST CLAIM FOR RELIEF
       Violation of the Video Privacy Protection Act (“VPPA”), 18 U.S.C. § 2710
 2

 3         66.    Plaintiff incorporates paragraphs by reference as if fully set forth

 4 herein.

 5
           67.    VPPA prohibits a “video tape service provider” from knowingly
 6

 7 disclosing “personally-identifying information” concerning any consumer to a third-

 8 party without the “informed, written consent (including through an electronic means

 9
     using the Internet) of the consumer.” 18 U.S.C § 2710.
10

11         68.    As defined in 18 U.S.C. §2710(a)(4), a “video tape service provider” is

12 “any person, engaged in the business, in or affecting interstate commerce, of rental,

13
     sale, or delivery of prerecorded video cassette tapes or similar audiovisual
14

15 materials.”

16         69.    Defendant is a “video tape service provider” as defined in 18 U.S.C.
17
     §2710(a)(4) because it engaged in the business of delivering audiovisual materials
18

19 that are similar to prerecorded video cassette tapes and those sales affect interstate

20 or foreign commerce.

21
           70.    As defined in 18 U.S.C. §2710(a)(3), “personally-identifiable
22

23 information” is defined to include “information which identifies a person as having

24 requested or obtained specific video materials or services from a video tape service

25
     provider.”
26

27         71.    Defendant knowingly caused Personal Viewing Information, including
28
     FIDs, concerning Plaintiff and Class members to be disclosed to Facebook. This
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 1 information constitutes personally identifiable information under 18 U.S.C.

 2 §2710(a)(3) because it identified each Plaintiff and Class member to Facebook as an

 3
     individual who viewed Bleacherreport.com Video Media, including the specific
 4

 5 video materials requested from the website.

 6         72.     As defined in 18 U.S.C. §2710(a)(1), a “consumer” means “any renter,
 7
     purchaser, or subscriber of goods or services from a video tape service provider.” As
 8

 9 alleged       in the preceding paragraphs, Plaintiff subscribed to a digital

10 Bleacherreport.com plan that provides Video Media content to the digital

11
     subscriber’s desktop, tablet, and mobile device. Plaintiff is thus a “consumer” under
12

13 this definition.

14         73.     As set forth in 18 U.S.C. §27109(b)(2)(B), “informed, written consent”
15
     must be (1) in a form distinct and separate from any form setting forth other legal or
16

17 financial obligations of the consumer; (2) at the election of the consumer, is either

18 given at the time the disclosure is sought or given in advance for a set period of time

19
     not to exceed two years or until consent is withdrawn by the consumer, whichever
20

21 is sooner. Defendant failed to obtain informed, written consent under this definition.

22         74.     In addition, VPPA creates an opt-out right for consumers in 18 U.S.C.
23
     § 2710(2)(B)(iii). It requires video tape service providers to also “provide[] an
24

25 opportunity for the consumer to withdraw on a case-by-case basis or to withdraw

26
     from ongoing disclosures, at the consumer’s election.” Defendant failed to provide,
27

28

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 1 in a clear and conspicuous manner, an opportunity for consumers to opt out as

 2 required by VPPA.

 3
            75.   Defendant knew that these disclosures identified Plaintiff and Class
 4

 5 members to Facebook. Defendant also knew that Plaintiff’s and Class members’

 6 Personal Viewing Information was disclosed to Facebook because, inter alia,

 7
     Defendant chose, programmed, and intended for Facebook to receive the video
 8

 9 content name, its URL, and, most notably, the digital subscribers’ FID.
10          76.   By disclosing Plaintiff’s and the Class’s Personal Viewing Information,
11
     Defendant violated Plaintiff’s and the Class members’ statutorily protected right to
12

13 privacy in their video-watching habits. See 18 U.S.C. § 2710(c).

14          77.   As a result of the above violations, Defendant is liable to the Plaintiff
15
     and other Class members for actual damages related to their loss of privacy in an
16

17 amount to be determined at trial or alternatively for “liquidated damages not less

18 than $2,500 per plaintiff.” Under the statute, Defendant is also liable for reasonable

19
     attorney’s fees, and other litigation costs, injunctive and declaratory relief, and
20

21 punitive damages in an amount to be determined by a jury, but sufficient to prevent

22 the same or similar conduct by the Defendant in the future.

23
     VII.   RELIEF REQUESTED
24

25
            78.   Accordingly, Plaintiff, on behalf of himself and the proposed Class,

26 respectfully requests that this Court:

27

28

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 1                (a)    Determine that this action may be maintained as a class action

 2 pursuant to Rules 23(a), (b)(2), and (b)(3) of the Federal Rules of Civil Procedure,

 3
     direct that reasonable notice of this action, as provided by Rule 23(c)(2), be given to
 4

 5 the Class, and declare Plaintiff as the representative of the Class and his counsel as

 6 Class Counsel;

 7
                  (b)    Declare that Defendant’s conduct as described herein violates the
 8

 9 federal VPPA, 18 U.S.C. § 2710(c)(2)(D);
10                (c)    Order Defendant to pay $2,500.00 to Plaintiff and each Class
11
     member, as provided by the VPPA, 18 U.S.C. § 2710(c)(2)(A);
12

13                (d)    Order Defendant to pay punitive damages, as warranted, in an
14 amount to be determined at trial, 18 U.S.C. § 2710(c)(2)(B);

15
                  (e)    Order Defendant to pay prejudgment interest on all amounts
16

17 awarded;

18                (f)    Order Defendant to pay restitution and all other forms of
19
     equitable monetary relief;
20

21                (g)    Provide for injunctive relief as pleaded or as the Court may deem
22 proper; and

23
                  (h)    Enter an order awarding Plaintiff and the Class their reasonable
24

25 attorneys’ fees and expenses and costs of suit, 18 U.S.C. § 2710(c)(2)(C).

26

27

28

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 1 VIII. JURY DEMAND

 2          79.    Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff,
 3
     on behalf of himself and the proposed Class, demands a trial by jury on all issues so
 4
     triable.
 5

 6

 7
     Dated:        January 25, 2023         Respectfully submitted,
 8
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27
                                            Class

28

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